                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA

               Plaintiff,

                v.
                                                        Criminal No.: 23-085 (PAD)
 CARLOS JAVIER RUIZ-PATINO ET AL

                Defendants


                                   MOTION TO UNSEAL

       TO THE HONORABLE COURT:

       COMES NOW, the United States of America, by and through the undersigned Assistant

United States Attorney, to respectfully inform the Honorable Court of some of the Defendants’

arrests and request the unsealing of this case on the CM/ECF system.

       Accordingly, the United States respectfully requests that the Honorable Court grant the

United States’ request.

                                                   Respectfully submitted,

                                                   W. STEPHEN MULDROW
                                                   United States Attorney

                                                   s/Daniel J. Olinghouse
                                                   Daniel J. Olinghouse
                                                   Assistant United States Attorney
                                                   USDC-PR No. G03009
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                                                   Daniel.Olinghouse2@usdoj.gov
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                                    CERTIFICATE OF SERVICE
        I hereby certify that I caused the foregoing to be presented to the Clerk of the Court for

filing and uploading to the CM/ECF system, which will generate an electronic notice of this

filing to be sent to the parties.



                                                      s/Daniel J. Olinghouse
                                                      Daniel J. Olinghouse
                                                      Assistant United States Attorney
